 

Case: 1:13-cv-02515 Document #: 15 Filed: 10/16/13 Page 1 of 13 PagelD #:64 T\\h

IN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION E I
Wavery Tompkins ) mR - E ry

 

Plaintiff )

v. eer a 0
19"" Judicial Circuit Court of Lake County, IL.) * ehig
Lake County State’s Attorney’s, et al., Lake ) CLERK Ba a 8 aiers
County Sheriff's Dept., et al., Lake County )13CV2515 Dig, al CT Cour,

Circuit Court Clerks’ Office, et al, Waukegan _) Judge Edmond Chang
Police Dept. et al., Judge Matthew F. Kennelly ) Magistrate Judge:
Atty. Neil Toppel, Attys. Margaret M. Duncan, ) Daniel G. Martin
Keith M. Stolte, Rev. Eugene Roberson, Ms. )

Tina Y. Wofford. )

Defendants

NOTICE OF MOTION
Please be advised that on Friday, October 11, 2013, that |, Wavery Tompkins, Plaintiff in the
above listed case present the following motion in response to an order dismissing complaint #
13CV2515 on or about September 13, 2013, by placing this document, and attached appendix
into the U.S. Post Office for delivery to: United State’s District Court Clerk 219 Dearborn St.
Chicago, IL. 60604
MOTION
MOTION TO RECEIVE RELIEF FROM A DISMISSAL BY JUDGMENT/ORDER
IN ACCORD OF RULE 60 OF THE FEDERAL RULES OF
CIVIL PROCEDURE.
OBJECTIVE OF THIS MOTION:
The objective of this motion is that the Plaintiff's evaluations of himself, and all that he has
endured throughout his life may first be understood. That the Plaintiff may lend insight of the

fact that he is a black minority, and does understand how the majority in this country acts, and

reacts, and Plaintiff will show how good hearted Americans of the minority persuasion may be

 

 
 

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manipulated by a justice system that is bent on manipulating a segment of people within our
society, to all appear similar in daily method or thought pattern, as if all black minorities have
comprehension, or common sense deficiencies that cause them to become frustrated and
eventually angry, and act out in a manner unbecoming to civil minded, business oriented,
common people. Plaintiff is not of that mold, knows well, right from wrong, has never had
harmful intent towards anyone, unless being in situations where he is forced to defend his
position, which moral majority individuals of today’s society understand that in predominantly
minority areas of residence throughout this country, there is a ‘feast or famine’ concept. The
Plaintiff, through this motion, will simply give a unique, frank and forthright perspective of a
modern day, intelligent black mans’ viewpoint, that will hopefully lend some understanding to
the thought, that while we view people in various culture classifications in this country, let’s not
forget that we must view people as individuals, who have, and in many cases want to offer
something positive to their society. FACTUAL ISSUES OF THIS CIVIL CONSPIRACY:

The Plaintiff, now a 52 year-old, black highschool graduate, having the equivalent of two years
of secondary education, is versatile in various areas of this country’s work force, or trade
option. The Plaintiff whom has been basically an independent worker, scrap hauler, the past
ten years, has experience in the construction trade, does not steal, affiliate himself with gangs,
indulge in drug usage, and no longer frequents drinking establishments. Plaintiff is of the
Christian faith of the Baptist doctrine, has never owned a firearm, over the years, has become
very accustomed to being respected, sought out for giving sound advice, and assisting in solving
day to day problems in society for himself and others, if he feels the need. Plaintiff is

handsome, and in good physical condition, in his mid-age, and feels no need to appear

 
 

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intimidating to anyone. The manner that the Plaintiff carries himself affords him to command
his self worth, and respect, the Plaintiff is not putting on aires, or trying to be someone he is
not, does not feel the need to be reprimanded, or scolded, as if he is some mischievous brat, as
some authoritative individual, attempting to build on his self-esteem. Plaintiff is truly a unique
commodity, and respects God, and himself afterwards. Plaintiff has never viewed himself as a
criminal, was always respected throughout his life as a leader, from facilitator of groups of
friends as a youth, to captain of his highschool varsity football team, to respected supervisory
positions in most jobs held. Therefore, Plaintiff has to try and show how it has been a total
shock to be repeatedly arrested, accused of undefined, immoral acts, of disturbing the peace,
and most severely, of being a bad, or reckless driver. Plaintiff takes pride in his driving, dislikes
prejudice people, and dislikes corrupt individuals. And Judges of the 19" Judicial Circuit Court,
have learned that through motions written during procedures in trials. Plaintiff has never felt
the need to compromise, or ‘copout’, or admit to any implied crime that may have been alleged
to have been committed by him, hence is usually the reasoning for the repeated, elongated
delays, and continuances of his court appearances. Note that in Plaintiffs alleged criminal
history, he has never resisted arrest, been arrested by black officers, or convicted by a minority
Judge.

It is well understood by many of intelligence, how the justice system operates in Lake county,
and for the most part, this country in general, all blacks are cajoled towards being manipulated,
Or appearing as the angry, confused, thug mentality, on the street, or the job. How employees
and owners of drinking establishments have treated the Plaintiff over the past twenty years, is

the work of Lake County State’s Attorney, Michael Waller, in conjunction with many of the

 

 
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Judges, and members of the Sheriff's Dept. To unlawfully convey to the community, to be on
the watch for the Plaintiff, scrutinize his every move, allowing authorities to assist these people
by unlawfully keeping the Plaintiff under surveillance, and posting characterizations of the
Plaintiff's likeness, and personal information in public places, allowing for Plaintiff to be unfairly
judged by people whom may otherwise respect, or even like the Plaintiff. To speculate about
the Plaintiff's personal acumen, as being one whom is looking to do something immorally
wrong or against the law. Plaintiff though does have a weakness for beautiful young women
that he attracts, and many that are attracted to him. Unfortunately, these women often can be
manipulated by authorities, possibly through jealousy, to fabricate accusations against the
Plaintiff, to try and fulfill their obligation of making the Plaintiff appear as an intimidating
‘womanizer’, harasser, or abuser of women, none of which are the ‘forte’ of the Plaintiff.
Through this motion, Plaintiff will confirm everything that has been stated herein. The Plaintiff
knows the intent toward unsuspecting individuals, or those who may be described as, or fall
into the classification of a common criminal, which in the Lake County area there are many
whom exist by that type of characterization. So if many of ‘mainstream’ America are of the
mindset described here, it is not very uncharacteristic to believe that a conspiracy can be
formed against an individual, which is my relative theory.

EXAMINATION AND SCRUTINIZATION OF THIS DISTRICT COURT JUDGES ORDER:

Judge Chang’s Judgment/order lacks a realistic explanation as to why, as the Plaintiff feels, his
complaint was unfairly, and prematurely dismissed on the grounds Plaintiff feels Judge Chang
familiarized himself with the Plaintiff's disposition, and apparent character through

conversations with authorities in Lake County, and Judge Kennelly, to determine the best

 

 
 

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means of quickly eradicating the Plaintiff's claim, very seemingly to continue to deprive the
Plaintiff of his due process rights, and the realization of an ongoing ‘coverup’. Judge Chang’s
citings of cases involving the stringent rules for filing In Forma Pauperis status within the
complaint, are not commensurate with the Plaintiff's situation in any way or form. The citings
of cases that Judge Chang listed in regards to 28USC 1915(e)(2)(B), and states in the order,
‘provides for the dismissal of frivolous claims’. Judge Chang goes on to cite claims of convicted
felons, many of whom were incarcerated, or seeking relief for incidents happening to them
while they were incarcerated. The Plaintiff is not a convicted felon, nor has he ever done time
in any penal institution. Plaintiff feels that Judge Chang purposely prejudiced him, and
intentionally violated his due process, knowing that the Plaintiff is not of the experience of an
attorney able to handle such convoluted cases as this, and knowing this, Judge Chang violated
the following rules of federal civil procedure: 4(a), 4(b), 4(c)(2), 4(m), 7(a), 12(a)(1), and
12(a)(3). Judge Chang, in addition, is considered to have committed an act of abuse of
discretion, where trial court Judge clearly misunderstood, or ignored the facts at issue, or
erroneously applied the facts of the case in making a legal conclusion. Plaintiff brings an issue
involving the entire conspiracy. The issue is that of ‘fraud upon the court’, an act deemed so
severe, like a civil conspiracy, being fundamentally opposed to the operation of justice, that it is
not subject to any statute of limitations. A complaint should not be dismissed for failure to
state a claim, unless it appears beyond a doubt, that the Plaintiff can prove no set of facts in
support of his claim, which would entitle the Plaintiff to relief. Judge Chang had more than
enough time to: A) Diligently investigate the Plaintiff's claims, which are verifiable. B) Move for

arbitration- a resolution process where non-binding judgment could have been issued on the

 

 
 

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merits after an expedited, adversarial hearing. C) Mediation- An impartial, neutral third party
facilitates negotiations among the parties to help them reach settlement. D) Settlement
conference- To explore possibility of settlement before trial. Basically all of the Plaintiff's lower
court incidents involving arrests, can be applied to a petition for ‘writ of habeas corpus’, but
due all of the intrincic relativity, and production of this conspiracy involving so many so many
authorities of the named defendants, this trial would be conducted on a case by case basis.
Judge Chang is also in violation of LR83.36(a)(1)-(5), LR83.36(c)(1)-(7), LR83.36(d)(1)-(3). Judge
Chang represented himself as a Judge acting in a biased manner who tried the case at the
earliest possible stage, and in the process brought about numerous violations. Finally, this
complaint is based on cases just prior to the Plaintiff's filing of 05C1691, and all the cases
afterward stems from incidents orchestrated by State’s attorney, Michael Wailer, assisted by
Judges named as defendants within this complaint, aided by the Lake County Sheriff’s Dept.,
and individual civilians working in the Lake County Circuit Court Clerks’ Office, as attorneys
representing the Plaintiff, case 05C1691, and civilian members of a church, see attached
appendix, for evidence of cases listed by Circuit Court number, with location of case within the
complaint listed.

RELIEF SOUGHT:

What is considered most vital of the Plaintiff’s claims are the acts of fraud upon the court,
consisting mostly of Judges, and the State’s Attorney of the 19" Judicial circuit, violations of
Plaintiff's due process, by Judge Matthew F. Kennelly, being 18USC 242 Deprivation of civil
rights under color of law, 42USC 1986 Action for neglect to prevent a conspiracy, and 42USC

1988 Proceedings in vindication of civil rights. Plaintiff submits, that absolutely no one has the

 

 
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right to violate his civil, constitutional, and due process of law rights on an intentional and
continual basis, and have the Plaintiff, whom is denied representation, to face elected officials
possessing judicial powers to affect a change by administering justice where the situation calls.
The Plaintiff through this motion, requests that Judge Edmond Chang consider recusing himself,
that a review of this motion by the appeals division allows the Plaintiff the following: 1)
Clarification, eradication, or amendment of the order, which was dismissed with prejudice, and
a request for a copy of this case numbers folio on the docket. 2) Correction of the omission of
reference of all the cases named within this complaint, correction of paragraph 5 of the order,
and clarification in assessing the Plaintiff's nine counts. 3) Remand the order for revision of
judgment, due that Judge Chang never made request to plaintiff for clarification of claims
stated, never allowed Plaintiff amendment applications, showing how cases tied in with each
other. 4) Allow Plaintiff In Forma Pauperis status, and appointed representation upon requiring
an answer from each named defendant. 5) See attached appendix to bring clarification to the
understanding of Plaintiffs counts, and demonstration of how cases are relative to the
conspiracy claim.

In closing, Plaintiff Wavery Derant Tompkins prays that after a finding of the affirmative, after
reviewing this motion finds that the Plaintiff is entitled to redress for being repeatedly injured
in an unfair and malicious manner, that Plaintiff may finally have these issues mediated towards

an equitable, ethical, and economical resolution that the Plaintiff is entitled to in accord of law.

 

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Wavery D. Tompkins

 

 
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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
WAVERY TOMPKINS, )
)
Plaintiff, ) No. 13 C 02515
)
v )
) Judge Edmond E. Chang
19th JUDICIAL CIRCUIT COURT OF )
LAKE COUNTY, ILLINOIS, et al., )
)
Defendants. )

ORDER

Wavery Tompkins filed this suit against 25 various defendants, including the
Lake County Circuit Court and judges and clerks of that court; the Lake County
State’s Attorney’s Office and a state prosecutor in that office; the Lake County’s
Sheriffs Department and deputies in that department; Waukegan police officers;
two members of a church in North Chicago; and the United States District Court for
the Northern District of Illinois and a judge of that court. Tompkins is representing
himself. Among other things, he has filed a motion to proceed in forma pauperis. R.
4. For the reasons explained below, the motion is denied.

Because Tompkins is seeking in forma pauperis status, he is governed by 28
U.S.C. § 1915(e)(2)(B), which provides for the dismissal of “frivolous” claims,
§ 1915(e)(2)(B)Q), see Vey v. Clinton, 520 U.S. 937, 937 (1997), as well as complaints
that fail to state a claim, § 1915(e)(2)(B)Gi), Jaros v. IDOC, 684 F.3d 667, 669 n.1
(7th Cir. 2012); Rowe vu. Shake, 196 F.3d 778, 783 (7th Cir. 1999). Section 1915(e)(2)
applies to all litigants who seek to proceed in forma pauperis, not just prisoners. See
Vey, 520 U.S. at 987 (denying in forma pauperis status to file certiorari petition
from appeal applying § 1915(e)(2)(B)() to non-inmate); Jaros, 684 F.3d at 669 n.1
(explaining that § 1915(e)(2) screening applies to non-prisoner suits); Rowe, 196
F.3d at 783; McDowell v. Eden, 2011 WL 1969387, *1 (N.D. Ill. Jan. 20, 2011). In
addressing any pro se litigant’s complaint, the Court must construe the complaint
liberally. Haines v. Kerner, 404 U.S. 519, 521 (1972). If there is an arguable basis
for a claim in fact or law, then leave to proceed will be granted. Nettzke v. Williams,
490 U.S. 319, 325 (1989). But dismissal of the complaint is the proper course where
it is clearly baseless or fanciful, Denton v. Hernandez, 504 U.S. 25, 32-33 (1992), or
fails to state a claim, § 1915(e)(2)(B)(ii), or seeks monetary damages against a
defendant who is immune from such damages, § 1915(e)(2)(B)(@u).

 
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The complaint contains 164 paragraphs, and goes back in time to around
1988. See R. 1 § 56 (this is the first arrest of which Tompkins complains; the
complaint actually mentions events going back to 1982). As best as can be
discerned, the complaint has a few sets of allegations; they do not all tie together, at
least not directly. First, it appears that Tompkins believes he has been falsely
arrested, several times, by various police officers and Sheriffs deputies, and
occasionally prosecuted by the Lake County State’s Attorney’s Office. Jd. 44] 54-80,
110, 111. For one of these arrests, Tompkins filed a civil rights lawsuit in the
United States District Court for the Northern District of Illinois. This is a second
set of allegations. The federal case was assigned to Judge Matthew Kennelly. Id. {
84. Tompkins believes the attorneys appointed to represent him ended up
conspiring against Tompkins. Id. § 85-86.

In another set of allegations, Tompkins filed a lawsuit in Lake County Circuit
Court against his landlord in August 2005. Id. 90. The landlord said that she
“feared the Plaintiffs presence.” Id. 91. Tompkins alleges that the state judges
committed various errors, ending in entry of judgment for the defendants whom
Tompkins had sued. Jd. § 95. There is also a set of allegations stemming from what
Tompkins says is defamation committed by two members of a church. Id. { 103.
Tompkins apparently filed a state-court defamation claim (and perhaps two), which
was dismissed. Id. J§ 103, 115.

On these allegations, Tompkins assets nine counts. Before discussing those
counts, the Court pauses to explain that, because on the Court’s colleagues is named
in the complaint, the Court did consider whether recusal was necessary. Under the
applicable federal statutes, 28 U.S.C. §§ 144 and 455, and the Judicial Code of
Conduct, it is permissible to rule on a complaint “if the litigation is patently
frivolous, or if judicial immunity is plainly applicable.” See Judicial Code of Conduct
Advisory Opinion No. 82 (available at www.uscourts.gov/RulesAndPolicies/Codes of
aspx). As explained below, this case is frivolous both in all respects and as

 

to the specific claim against Judge Kennelly, both on implausibilty and immunity
grounds.

Turning to the individual counts, Count One purports to allege a violation of
18 U.S.C. § 241 (deprivation of constitutional rights), a federal criminal statute,
which cannot be enforced civilly by Tompkins. Likewise, Count Two alleges that
Defendants’ conspired to falsely accuse or testify against Plaintiff, which the
complaint says is a violation of 18 U.S.C. § 1505 (obstruction of justice). Again, that
is a federal criminal statute that Tompkins cannot enforce in a civil action. To the
extent that Tompkins is trying to allege a 42 U.S.C. § 1983 (or Bivens versus the
federal officials) action, the allegation of a vast conspiracy against him does not
plausibly state a claim.
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Similarly, Count Three alleges that, when Tompkins was arrested, “some
officers” booked Tompkins with aliases in addition to his real name, thus
supposedly violating one of the identity-theft criminal statutes, 18 U.S.C.
§ 1028(d)(5)(A). Once again, Tompkins cannot enforce that criminal statute in a civil
action. The same goes for the next two claims: Count Four, which purports to allege
a violation of 18 U.S.C. § 245 (interference with certain civil rights), and Count
Five, which alleges that there was concealment of court records, 18 U.S.C. § 2071.
Tompkins cannot prosecute those federal criminal statutes as civil actions.

Next, Count Six refers specifically to paragraphs 50 to 53 of the complaint,
but those allegations, to the extent they are understandable, involve a refusal to
rent to Tompkins after he raised complaints about the condition of the residence,
and the allegations de not plausibly state a claim for race discrimination in the
right to hold or lease property, 42 U.S.C. § 1982.

Count Seven refers specifically to paragraphs 97 to 100 of the complaint,
which are allegations that two Lake County Circuit Court deputy clerks caused him
to be arrested for allegedly making threats, once in 2007 and the other time in 2008.
Whether regarded as a false-arrest or malicious-prosecution claim (or both), the
latter case was dismissed in August 2008, so Tompkins’s complaint, on its face, is
outside the two-year statute of limitations. On the former case, the complaint does
not allege that the prosecution was terminated in his favor, so that required
allegation 1s missing.

Count Hight tries to allege that the “legal officials” had a chance to, but did
not, prevent the “ongoing conspiracy.” To the extent that this count is targeted at
supervisory executive-branch officials, the allegations are too thin to state a claim
for liability, because there are insufficient allegations of their personal involvement.
Ashcroft v. Iqbal, 556 U.S. 662, 675-76, 681 (2009). Also, to the extent that this
count is targeted at prosecutors (or the State’s Attorney) for failing to prosecute the
alleged wrongdoers or judges for failing to prevent the alleged abuse of process,
absolute prosecutorial and judicial immunity apply to bar the claim.

Finally, Count Nine alleges that three prior lawsuits were incorrectly
dismissed. To the extent that Tompkins is targeting state-court lawsuits, the
Rooker-Feldman doctrine, narrow as it is, would apply if he is complaining about
the judgments themselves. See Crawford v. Countrywide Home Loans, 647 F.3d 642,
645-46 (7th Cir. 2011). To the extent that the federal suit is the target, again the
proper procedure would have been to appeal the dismissal, not file what amounts to
a collateral challenge in a new civil suit. Whether state or federal, the complaint’s
allegations fail to provide factual content that amount to plausible challenges of the
judges’s decisions, and absolute judicial immunity would apply in any event.

 
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This case is frivolous and fails to state a claim. The case is dismissed with
prejudice.

ENTERED:

s/Edmond E. Chang
Honorable Edmond E. Chang
United States District Judge

DATE: September 10, 2013
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UNITED STATES DISTRICT COURT
for the

Northern District of Illinois

 

_Wavery Thompkins )
Plaintiff )
v. ) Civil Action No. 13. C2515
19" Judicial Circuit Cour of Lake County, Illinois, et al. )
Defendant )

JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

 

 

[| the plaintiff (ame) recover from the
detendant (name) the amount of
dollars ($ ), which includes prejudgment
interest at the rate of %, plus postjudgment interest at the rate of %, along with costs.

[| the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)

other:

This case is dismissed with prejudice for failure to state a claim.

 

This action was (check one):

[_] tried by a jury with Judge ee sépresiding, and the jury has
rendered a verdict.

[| tried by Judge

was reached.

without a jury and the above decision

[| decided by Judge onamotionfor

Date: Sept. 13, 2013 _ Thomas G. Bruton, Clerk of Court

/s/ Sandra Brooks

 
